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                                                           (J ~ ~,r'r :-')           U.S. Department                of Justice
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                                       Mailing Address:,,)""   ~.                       Office Location:                  DIRECT: 4/0.209.4839
LAuren E. Perry
A.ssislan/ United States Attorney      36 S. Charles Streef. "    100'-,.'., • \"., ''- 36 S. Charles Sireel. 4th Floor     MAIN: 410.209-1800
                                       Baltimore. Ml/2/201                              Baltimore. MD 2/20/                  FAX: 4/0.962.0716
/auren.petry@usdoj.gov
                                                                                 ::(jTY

                                                                            June 10,2019

Jonathan Van Hoven
Law Office of Jonathan Van Hoven
One N Charles S1, Suite 1215
Baltimore, MD 2120 I

            Re:          United States v. Tyirisha Johnson, Criminal No. PX-19-158

Dear Counsel:

       This letter, together with the Sealed Supplement, confirms the plea agreement (this
"Agreement") that has been offered to your client, Tyirisha Johnson (hereinafter "Defendant"), by
the United States Attorney's Office for the District of Maryland ("this Office"). If the Defendant
accepts this offer, please have the Defendant execute it in the spaces provided below. If this offer
has not been accepted by -:JaUe Fr, 2~t          wil~      deemed withdrawn.      The terms of the
Agreement are as follows: "':)J\, \ <;          TJ {-l)
                                                    Offense of Conviction

        I.     The Defendant agrees to plead guilty to Count One of the Indictment, which
charges the Defendant with Racketeering, in violation of 18 U.S.C. ~ I962(c). The Defendant
admits that the Defendant is, in fact, guilty of the offense and will so advise the Court.

                                                  Elements of the Offense

        2.     The elements of the offense to which the Defendant has agreed to plead guilty, and
which this Office would prove if the case went to trial, are as follows:

Racketeering, in violation of 18 U.S.c. & 1962(c):

            On or about the time alleged in the Indictment, in the District of Maryland:

            I)    That an enterprise existed as alleged in the indictment;
            2)    That the enterprise affected interstate or foreign commerce;
            3)    That the defendant was associated with or employed by the enterprise;
            4)    That the defendant engaged in a pattern of racketeering activity or the collection of an
                  unlawful debt; and
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             5) That the defendant co.nducted Dr participated in the cDnduct o.f the enterprise thrDugh
                that pattern o.f racketeering activity Dr cDllectiDn Df an unlawful debt.

                                                      Penalties

             3.      The maximum        penalties   provided      by statute   fo.r the Dffense(s)   to. which the
     Defendant is pleading guilty are as fDllo.ws:

                                    Minimum         Maximum            Supervised      Maximum         Special
      CDunt          Statute                                            Release           Fine       Assessment
                                     Priso.n         Priso.n
                                                                                       $250,000
                                                                                        Dr twice
                                                                                       the gro.ss
                    18 U.S.c.                                            3 years       proceeds          $100
         I                             N/A          20 years
                    9 1962(c)                                                            derived
                                                                                        fro.m the
                                                                                         Dffense

                       a.      Priso.n: If the CDurt Drders a term Df impriso.nment,        the Bureau o.f Priso.ns
     has so.le discretiDn to. designate the institutio.n at which it will be served.

                     b.      Supervised Release: If the Co.urt o.rders a term Df supervised release, and
     the Defendant vio.lates the co.nditio.ns o.f supervised release, the Co.urt may o.rder the Defendant
     returned to. custo.dy to. serve a term o.f impriso.nment as permitted by statute, fo.llo.wed by an
     additio.nal term Df supervised release.

                      c.        RestitutiDn: The Co.urt may o.rder the Defendant to' pay restitutiDn pursuant
     to. 18 U.S.C. 99 3663, 3663A, and 3664.

                      d.      Payment: If a fine Dr restitutio.n is impDsed, it shall be payable immediately,
     unless the Co.urt o.rders Dtherwise under 18 U.S.C. 93572(d). The Defendant may be required to.
     pay interest if the fine is nDt paid when due.

                      e.      Fo.rfeiture: The Co.urt may enter an Drder o.f fo.rfeiture o.f assets directly
     traceable to. the o.ffense, substitute assets, and/o.r a mDney judgment equal to. the value o.f the
     property subject to. fo.rfeiture.

                       f.      CDllectio.n o.f Debts: If the Co.urt impo.ses a fine Dr restitutio.n, this Office's
     Financial Litigatio.n Unit will be respo.nsible fDr co.llecting the debt. If the Co.urt establishes a
     schedule Dfpayments, the Defendant agrees that: (I) the full amDunt o.fthe fine Dr restitutiDn is
     no.netheless due and o.wing immediately; (2) the schedule Df payments is merely a minimum
     schedule o.f payments and no.t the o.nly metho.d, no.r a limitatio.n Dn the methDds, available to. the
     United States to. enfo.rce the judgment; and (3) the United States may fully emplo.y all po.wers to.
     co.llect Dn the to.taI amo.unt o.f the debt as pro.vided by law. Until the debt is paid, the Defendant
     agrees to. disclo.se all assets in which the Defendant has any interest Dr o.ver which the Defendant
     exercises direct Dr indirect co.ntrol. Until the mo.ney judgment is satisfied, the Defendant



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authorizes this Office to obtain a credit report in order to evaluate the Defendant's ability to pay,
and to request and review the Defendant's federal and state income tax returns. The Defendant
agrees to complete and sign a copy of IRS Form 8821 (relating to the voluntary disclosure of
federal tax return information) and a financial statement in a form provided by this Office.

                                         Waiver of Rights

       4.      The Defendant understands that by entering into this Agreement, the Defendant
surrenders certain rights as outlined below:

               a.     If the Defendant had pled not guilty and persisted in that plea, the Defendant
would have had the right to a speedy jury trial with the close assistance of competent counsel.
That trial could be conducted by a judge, without a jury, if the Defendant, this Office, and the
Court all agreed.

                b.      (fthe Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the Defendant would have the opportunity
to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
would have the opportunity to strike a certain number of jurors peremptorily. All twelve jurors
would have to agree unanimously before the Defendant could be found guilty of any count. The
jury would be instructed that the Defendant was presumed to be innocent, and that presumption
could be overcome only by proof beyond a reasonable doubt.

                c.    If the Defendant went to trial, the Government would have the burden of
proving the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to
confront and cross-examine the Government's witnesses. The Defendant would not have to
present any defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses
in defense, however, the Defendant would have the subpoena power of the Court to compel the
witnesses to attend.

               d.     The Defendant would have the right to testify in the Defendant's own
defense if the Defendant so chose, and the Defendant would have the right to refuse to testify. If
the Defendant chose not to testify, the Court could instruct the jury that they could not draw any
adverse inference from the Defendant's decision not to testify.

                e.     If the Defendant were found guilty after a trial, the Defendant would have
the right to appeal the verdict and the Court's pretrial and trial decisions on the admissibility of
evidence to see if any errors were committed which would require a new trial or dismissal of the
charges. By pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and
the Court's decisions.

               f.      By pleading guilty, the Defendant will be giving up all of these rights,
except the right, under the limited circumstances set forth in the "Waiver of Appeal" paragraph
below, to appeal the sentence. By pleading guilty, the Defendant understands that the Defendant
may have to answer the Court's questions both about the rights being given up and about the facts
of the case. Any statements that the Defendant makes during such a hearing would not be


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admissible against the Defendant during a trial except in a criminal proceeding for peIjury or false
statement.

                g.      If the Court accepts the Defendant's plea of guilty, the Defendant will be
giving up the right to file and have the Court rule on pretrial motions, and there will be no further
trial or proceeding of any kind in the above-referenced criminal case, and the Court will find the
Defendant guilty.

                 h.     By pleading guilty, the Defendant will also be giving up certain valuable
civil rights and may be subject to deportation or other loss of immigration status, including possible
denaturalization. The Defendant recognizes that if the Defendant is not a citizen of the United
States, or is a naturalized citizen, pleading guilty may have consequences with respect to the
Defendant's immigration status. Under federal law, conviction for a broad range of crimes can
lead to adverse immigration consequences, including automatic removal from the United States.
Removal and other immigration consequences are the subject of a separate proceeding, however,
and the Defendant understands that no one, including the Defendant's attorney or the Court, can
predict with certainty the effect of a conviction on immigration status. The Defendant is not
relying on any promise or belief about the immigration consequences of pleading guilty. The
Defendant nevertheless affirms that the Defendant wants to plead guilty regardless of any potential
immigration consequences.

                              Advisory Sentencing Guidelines Apply

        5.      The Defendant understands that the Court will determine a sentencing guidelines
range for this case (henceforth the "advisory guidelines range") pursuant to the Sentencing Reform
Act of 1984 at 18 U.S.C. 9 3551-3742 (excepting 18 U.S.C. 9 3553(b)(1) and 3742(e» and
28 U.S.c. 99 991 through 998. The Defendant further understands that the Court will impose a
sentence pursuant to the Sentencing Reform Act, as excised, and must take into account the
advisory guidelines range in establishing a reasonable sentence.

                           Factual and Advisory Guidelines Stipulation

        6.    This Office and the Defendant stipul<lteand agree to the Statement of Facts set forth
in Attachment A, which is incorporated by reference herein.

           a. This Office and the Defendant agree that the applicable base offense level is 19
pursuant to United States Sentencing Guidelines ("U.S.S.G.") 92EI.I(a)(I);

             b. This Office does not oppose a 2-level reduction in the Defendant's adjusted offense
level pursuant to U.S.S.G. 9 3EI.I(a) based upon the Defendant's apparent prompt recognition
and affirmative acceptance of personal responsibility for the Defendant's criminal conduct. This
Office agrees to make a motion pursuant to U.S.S.G. 9 3EI.I(b) for an additional I-level decrease
in recognition of the Defendant's timely notification of the Defendant's intention to enter a plea
of guilty. This Office may oppose any adjustment for acceptance of responsibility under U.S.S.G.
9 3EI.I(a), and may decline to make a motion pursuant to U.S.S.G. 9 3El.I(b), if the Defendant:
(i) fails to admit each and every item in the factual stipulation; (ii) denies involvement in the


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offense; (iii) gives conflicting statements about the Defendant's involvement in the offense; (iv) is
untruthful with the Court, this Office, or the United States Probation Office; (v) obstructs or
attempts to obstruct justice prior to sentencing; (vi) engages in any criminal conduct between the
date of this Agreement and the date of sentencing; (vii) attempts to withdraw the plea of guilty; or
(viii) violates this Agreement in any way.

Accordingly, the Defendant's ANTICIPATED combined final offense level will be 16.

        7.      There is no agreement as to the Defendant's criminal history and the Defendant
understands that the Defendant's criminal history could alter the Defendant's offense level.
Specifically, the Defendant understands that the Defendant's criminal history could alter the final
offense level if the Defendant is determined to be a career offender or if the instant offense was a
part of a pattern of criminal conduct from which the Defendant derived a substantial portion of the
Defendant's income.

       8.       Diner than as set forth above.   DO   other   off8'afl"'seo.,e..ll
                                                                         •••             "'seo,nifm!ep,n"'c<tln
                                                                         lat"""'dC'"'t"P'el"i"'st   te"'S,...., "'grnYglTuJl7'd"'e:tllt""nes

:t~;~i=:t:1Ji~f~~::e~ri~=:S:le                         f::::;J::;::::::.se~g                          ~u(i:rs
                                      Obligations of the Parties

       9.      At the time of sentencing, this Office and the Defendant reserve the right to
advocate for a reasonable sentence, period of supervised release, and/or fine considering any
appropriate factors under 18 U.S.C. S 3553(a). This Office and the Defendant reserve the right to
bring to the Court's attention all information with respect to the Defendant's background,
character, and conduct that this Office or the Defendant deem relevant to sentencing, including the
conduct that is the subject of any counts of the Indictment. At the time of sentencing, this Office
will move to dismiss any open counts against the Defendant.

                                           Waiver of Appeal

      10.     In exchange for the concessions made by this Office and the Defendant in this
Agreement, this Office and the Defendant waive their rights to appeal as follows:

                 a.     The Defendant knowingly waives all right, pursuant to 28 U.S.C. S 1291 or
any other statute or constitutional provision, to appeal the Defendant's conviction on any ground
whatsoever. This includes a waiver of all right to appeal the Defendant's conviction on the ground
that the statute(s) to which the Defendant is pleading guilty is unconstitutional, or on the ground
that the admitted conduct does not fall within the scope of the statute(s), to the extent that such
challenges legally can be waived.

              b.      The Defendant and this Office knowingly and expressly waive all rights
conferred by 18 U.S.C. S 3742 to appeal whatever sentence is imposed (including any term of
imprisonment, fine, term of supervised release, or order of restitution) for any reason (including
the establishment of the advisory sentencing guidelines range, the determination of the
Defendant's criminal history, the weighing of the sentencing factors, and any constitutional


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challenges to the calculation and imposition of any term of imprisonment, fine, order of forfeiture,
order of restitution, and term or condition of supervised release), except as follows:

                     1.       The Defendant reserves the right to appeal any sentence that exceeds
the statutory maximum; and

                     ii.      This Office reserves the right to appeal any sentence below a
statutory minimum.

                c.     The Defendant waives any and all rights under the Freedom of Information
Act relating to the investigation and prosecution of the above-captioned matter and agrees not to
file any request for documents from this Office or any investigating agency.

                       Defendant's Conduct Prior to Sentencing and Breach

         I I.    Between now and the date of the sentencing, the Defendant will not engage in
conduct that constitutes obstruction of justice under U.S.S.G. S 3CI.I; will not violate any federal,
state, or local law; will acknowledge guilt to the probation officer and the Court; will be truthful
in any statement to the Court, this Office, law enforcement agents, and probation officers; will
cooperate in the preparation of the presentence report; and will not move to withdraw from the
plea of guilty or from this Agreement.

          12.     If the Defendant engages in conduct prior to sentencing that violates the above
paragraph of this Agreement, and the Court finds a violation by a preponderance of the evidence,
then: (i) this Office will be free from its obligations under this Agreement; (ii) this Office may
make sentencing arguments and recommendations different from those set out in this Agreement,
even if the Agreement was reached pursuant to Rule II(c)(I)(C); and (iii) in any criminal or civil
proceeding, this Office will be free to use against the Defendant all statements made by the
Defendant and any of the information or materials provided by the Defendant, including
statements, information, and materials provided pursuant to this Agreement, and statements made
during proceedings before the Court pursuant to Rule II of the Federal Rules of Criminal
Procedure. A determination that this Office is released from its obligations under this Agreement
will not permit the Defendant to withdraw the guilty plea. The Defendant acknowledges that the
Defendant may not withdraw the Defendant's guilty plea-even if made pursuant to Rule
 II(c)(I)(C)-ifthe      Court finds that the Defendant breached the Agreement. In that event, neither
the Court nor the Government will be bound by the specific sentence or sentencing range agreed
and stipulated to herein pursuant to Rule II(c)(I)(C).

                                         Court Not a Party

        13.     The Court is not a party to this Agreement. The sentence to be imposed is within
the sole discretion of the Court. The Court is not bound by the Sentencing Guidelines stipulation
in this Agreement. The Court will determine the facts relevant to sentencing. The Court is not
required to accept any recommendation or stipulation of the parties. The Court has the power to
impose a sentence up to the maximum penalty allowed by law. If the Court makes sentencing
findings different from those stipulated in this Agreement, or if the Court imposes any sentence up


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to the maximum allowed by statute, the Defendant will remain bound to fulfill all of the obligations
 under this Agreement. Neither the prosecutor, defense counsel. nor the Court can make a binding
prediction. promise. or representation as to what guidelines range or sentence the Defendant will
receive. The Defendant agrees that no one has made such a binding prediction or promise.

                                         Entire A!!reement

        14.      This letter, together with the Sealed Supplement. constitutes the complete plea
agreement in this case. This letter, together with the Sealed Supplement, supersedes any prior
understandings, promises. or conditions between this Ol'liee and the Defendant. There are no other
agreements, promises. undertakings, or understandings between the Defendant and this Office
other than those set forth in this letter and the Scaled Supplement. No changes to this Agreement
will be effective unless in writing. signed by all parties and approved by the Court.

        If the Defendant fully accepts each and every term and condition of this Agreement,   please
sign and have the Defendant sign the original and return it to me promptly.

                                                      Very truly yours,

                                                      Robert K. Hur
                                                      United States Attorney

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                                                                                ,j
                                                      Lauren E. Perry
                                                      Scan R. Delaney
                                                      Assistant United States Attorneys

        I have read this Agreement, including the Sealed Supplement, and carefully rcviewed every
part of it with my attorney. I understand it and I voluntarily agree to it. Specifically. I have
reviewed the Factual and Advisory Guidelines Stipulatio with my attorney and I do not wish to
change any part of it. I am completely satisfied with t e rep 'esentation of m)' attorney.



~
Date                                           Ty."



         I am the Defendant's attorney. I have carefully revie\\'cd every part of this Agreement,
including the Sealed Supplement with the Defendant.        The Defendant advises me that the
Defendant understands and accepts its terms. To my knowledge. the Defendant's decision to enter
into this Agreement is an informed and voluntary one.




                                                          I  an I-loven, Esq.




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                                      AITACHMENT A

                                 STIPULATION OF FACTS

        The undersigned parties stipulate and agree that if this case had proceeded to trial, this
Office would have proven thefollowingfacts beyond a reasonable doubt. The undersigned parties
also stipulate and agree thatthefollowingfacts  do not encompass all of the evidence that would
have been presented had this mailer proceeded to trial.

       The defendant, TYIRISHA JOHNSON, was an associate of COREY ALSTON, an
inmate at the Maryland Correctional Institute Jessup ("MCIJ"), a Maryland Department of Public
Safety and Correctional Services ("DPSCS") prison operated in Jessup, Maryland, in Anne
Arundel County. JOHNSON managed the proceeds of illegal contraband sales for ALSTON.
JOHNSON also obtained contraband consisting of but not limited to Suboxone strips, Percocet,
MDMA, K2, and tobacco from additional co-conspirators. JOHNSON provided this contraband
to MCIJ Correctional Officer ("CO") JANEL GRIFFIN, and to MCIJ Contract Nurse JOSEPH
NW ACHA. GRIFFIN and NW ANCHA then smuggled the contraband into ALSTON in
exchange for bribe payments.

        More specifically, between April 2017 and November 20 I7, JOHNSON was intercepted
over court authorized wiretaps and in recorded jail calls discussing contraband smuggling with
ALSTON. JOHNSON and ALSTON were recorded discussing obtaining and packaging
contraband as well as discussing meetings with GRIFFIN and NWANCHA and the payment of
bribes to them.

      Starting in at least April 2017, at the request of ALSTON, JOHNSON met several times
with CO GRIFFIN. In a series of recorded jail calls in April and May 2017, ALSTON and
JOHNSON discussed JOHNSON meeting with GRIFFIN so that GRIFFIN could bring
Suboxone, K2, and tobacco into MCIJ.

       For example, on or about April 20, 2017, in a recorded jail call, ALSTON instructed
JOHNSON to contact GRIFFIN and ask her to "bring the rest of the stuff tomorrow" including
tobacco and Suboxone and to find out what GRIFFIN would charge to smuggle in a contraband
phone. JOHNSON informed ALSTON that GRIFFIN agreed to bring some of it into the facility.

        On or about May 2, 2017, in a recorded jail call, ALSTON told JOHNSON to talk to
GRIFFIN and "tell her you got all the money ready ... she can come and give it to me tomorrow."
In a second recorded jail call that day, JOHNSON informed ALSTON that she was "meeting with
the girl [GRIFFIN] tomorrow." JOHNSON and GRIFFIN then met on May 3, 2017 for the
purpose of JOHNSON proving contraband to GRIFFIN.

       On or about June I 1,2017, in recorded jail calls, ALSTON instructed JOHNSON on how
to package contraband, telling her to wrap the flash drives separately from the Suboxone, the
MDMA, and the tobacco. JOHNSON told ALSTON that the "M" was "a big crystal" and later
confirmed that "it's a little more than one hundred" grams.




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           In August 2017, at ALSTON, on a recorded phonc call. directed .JOHNSON to provide
     GRIFFIN $800 in cash as payment for GRIFFIN smuggling contraband into MCIJ. which
     JOHNSON subsequently did. Two days later, GRIFFIN deposited $700 cash into her bank
     account.

           JOHNSON        also met with ALSTON's         other facilitators. ALDON ALSTON   and
   ASHLEY ALSTON to facilitate contraband smuggling. On or about November I, 2017, in a
   recorded call. JOHNSON provided ALDON ALSTON a cell phone and confirmed, via recorded
   phone call, that she still needed to give ALDON ALSTON $300 and other contraband. Later that
   day, JOHSNON met with ASHLEY ALSTON who provided her with MDMA to be smuggled
 . into MCIJ .. JOHNSON spoke to ALSTON. in a recorded call. and confirmed that the contraband
   was similar to "last time" and that it was "big rocks and shit:'

             Beginning in at least November 2017 .. JOHNSON mel with NWANCHA at thc requcst
     of ALSTON.       On Novcmbcr '5, 2017. NWANCHA        and .JOHNSON mct and JOHNSON
     provided NWANCHA with bribe moncy. as well as contraband. including controlled substances,
     to bc smuggled into MCIJ.

             Financial rccords confirm that bctwcen July 2016 and Novembcr                     2017 .• 10Hi'iSON
     received over $16,000 in GreenDot, PayPal and Western Union transfers.

                The Defendant agrees that she associated       with the enterprise described    in the Indictment
     and knowingly participated     in the alTairs of that enterprise.



     SO STlPULA TED:

                                                       ~{nU/h             P LM-----C
                                                       Lauren E. Pcrry        "
                                                       Sean R. Delaney
                                                       Assistant Unit  States Attorneys




                                                        Jonathan   an Hoven, Esq.
                                                        Counsel for Defendant




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